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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

PRISON LEGAL NEWS, : CIVIL ACTION ACTION
PLAINTIFF,
CASE NO.: 05-1812 (RBW)
Vv.
HARLEY G. LAPPIN, DIRECTOR,

FEDERAL BUREAU OF PRISONS,
DEFENDANTS

DECLARATION OF Docia M. Casillas

tT, the undersigned, Docia M. Casillas, do hereby make the
following unsworn declaration, pertinent to the above-styled and

numbered cause.

1. I am a Supervisory LMR Specialist for the Federal Bureau of
Prisons (Bureau), Washington, D.C. Tn this position, my

responsibilities include oversight of staff representing the
agency in third party proceedings, including compliance with
retention of all case files used in litigation retained in the
Labor Management Relations Office. This declaration supplements my

prior declaration dated October 9, 2008.

2. In searching for resoonsive records I understood that the request,
2003-08557, sought copies of all documents showing all money paid
by the Bureau of Prisons for lawsuits and claims against it from
the dates of January 1, 1996, through and including July 31,
2003. In September 2006, TI was contacted by Wilson Moorer, to

search for records in response to this request.
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The only responsive records maintained in the Labor Management
Relations Section include settlements entered into by the agency
and decisions issued in third party administrative hearings as a
result of grievances filed by the union. No other records as

described in paragraph two are maintained by this office.

The only means of creating an accurate and complete list of
responsive records maintained in the Labor Management Relations
Branch, was to look inside file cabinets and review case files
which would have included all settlements or decision maintained

at the time this office received the request.

My office conducted this review by pulling each case file and
reviewing the file for decisions and settlements that were issued

during the specified period of time.

Based on the office review of all case files, it was determined
that all responsive claims maintained in the Labor Management
Relations Branch had been identified and a copy of those
identified documents were provided to Wilson Moorer. The decisions
and settlements are the only source that would reveal responsive

documents maintained by the Labor Management Relations Branch.
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7. Based on the copies made as a result of staff review of the case
files, I forwarded the responsive documents as described in my
October 9, 2008 declaration, to Wilson Moorer in their original

form. I did noc redact the documents or apply any exemptions.

tT declare under the penalty of perjury and pursuant to 28 U.S.C.
§ 1746 that the foregoing is true and correct to the best of my

knowledge and belief.

Executed this __26. day of March of 2010.

Doce IN. Coaoe

Docia M. Casillas
Supervisory Labor Management Relations
Labor Management Relations Branch

